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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA                 §
                                         §
v.                                       §         CASE NO. 3:19-CR-00083-S
                                         §
CAROLYN RENA DAVIS (2)                   §

            SUPPLEMENT TO REPORT AND RECOMMENDATION
                    CONCERNING PLEA OF GUILTY

       Pursuant to a referral from the District Court, the undersigned magistrate

judge held a hearing in this case on March 29, 2019, to address the impact of the

reciprocal disciple imposed against Mr. Scottie Allen, counsel for Defendant

Carolyn Rena Davis. Ms. Davis appeared at the hearing, in person and through

counsel, and the government appeared through an assistant United States

Attorney.

       Ms. Davis informed the Court that Mr. Allen had made her aware of the

reciprocal discipline and the fact that he would be suspended from practice from

April 1, 2019 to September 30, 2019. Accordingly, the Court considered the motion

to permit Mr. Allen to withdraw [ECF No. 35], as well as the motion and amended

motions to substitute Mr. Heath Harris as counsel for Ms. Davis [ECF No. 33, 34,

36]. The government did not oppose any of the motions, and Ms. Davis consented

to Mr. Allen’s withdrawal and Mr. Harris’s substitution. Therefore, the Court

GRANTED the motions and ORDERED: (1) Mr. Allen is withdrawn as counsel for

Ms. Davis and is discharged from any further responsibilities in this case, and (2)

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Mr. Harris is substituted as counsel for Ms. Davis and will represent her in this

case going forward.

      The Court further inquired into the knowing and voluntary nature of Ms.

Davis’s guilty plea, in view of the discipline that was pending against Mr. Allen at

the time she negotiated her plea agreement and entered her plea of guilty. Counsel

for the government stated the government’s position is that Ms. Davis was

effectively represented by a licensed attorney throughout the plea negotiation

process and entry of her guilty plea. The government does not require any

additional measures with respect to her plea. Ms. Davis confirmed that she is still

satisfied with Mr. Allen’s representation of her and that she did not want to change

or withdraw her plea. Mr. Harris represented that he reviewed with Ms. Davis the

plea agreement, the entry of the guilty plea, and the disciplinary matter against Mr.

Allen; Mr. Harris is confident Ms. Davis’s plea is knowing and voluntary.

      Ms. Davis, Mr. Harris, and counsel for the government requested the Court

accept the March 1, 2019 Report and Recommendation Concerning Plea of Guilty

[ECF No. 21], accept Ms. Davis’s plea of guilty, adjudge Ms. Davis guilty as

provided in the Report and Recommendation, and impose a sentence accordingly.

      March 29, 2019.



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                                       REBECCA RUTHERFORD
                                       UNITED STATES MAGISTRATE JUDGE



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